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JMH:RWN
F. #2024R00053

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------X                            TO BE FILED UNDER SEAL

UNITED STATES OF AMERICA                                COMPLAINT AND
                                                        AFFIDAVIT IN SUPPORT
           - against -                                  OF AN APPLICATION FOR
                                                        AN ARREST WARRANT
PIERRE HUNT,
                                                        (18 U.S.C. §§ 924(c), 1951(a))
                         Defendant.
                                                        Case No. 24-MJ-227
---------------------------X


EASTERN DISTRICT OF NEW YORK, SS:

               JENNIFER CARDILLO, being duly sworn, deposes and states that she is a

Special Agent with the Bureau of Alcohol, Tobacco, Firearms, and Explosives (“ATF”), duly

appointed according to law and acting as such.

               On or about January 8, 2024, within the Eastern District of New York and

elsewhere, the defendant PIERRE HUNT did knowingly and intentionally obstruct, delay and

affect commerce, and the movement of articles and commodities in commerce, by robbery, to

wit: the robbery of United States currency from a commercial establishment located on Lewis

Avenue in Brooklyn, New York.

               (Title 18, United States Code, Section 1951(a))

               On or about January 8, 2024, within the Eastern District of New York and

elsewhere, the defendant PIERRE HUNT did knowingly and intentionally use and carry a

firearm during and in relation to a crime of violence, to wit: the Hobbs Act robbery described
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above, and did knowingly and intentionally possess such firearm in furtherance of said crime of

violence, which firearm was brandished and discharged.

               (Title 18, United States Code, Sections 924(c)(1)(A)(i), 924(c)(1)(A)(ii),

924(c)(1)(A)(iii))

               The source of your deponent’s information and the grounds for her belief are as

follows 1:

               1.      I am a Special Agent assigned to the ATF Joint Robbery Task Force. I

have been involved in the investigation of numerous robbery cases. I have been a Special Agent

with ATF since 2015. I am familiar with the facts and circumstances set forth below from my

participation in the investigation as well as my review of the investigative file, surveillance

camera and body worn camera videos, and reports of other law enforcement officers involved in

the investigation.


               2.      On January 8, 2024, at approximately 2:15 p.m., a commercial

establishment located on Lewis Avenue in Brooklyn, New York (the “Store”) was robbed by an

individual armed with a handgun. For the reasons set forth herein, I believe that the defendant

PIERRE HUNT was that individual. The Store engages in interstate commerce. The specific

address of the Store is known to your affiant.

               3.      Based upon the review of surveillance footage from within the Store, at

the aforementioned date and time, an individual—whom I believe to be PIERRE HUNT, as

described in further detail below—entered the store on foot from the north on Lewis Avenue

wearing sunglasses, what appear to be large diamond earrings, a dark-colored jacket, and a grey


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               Because this affidavit is being submitted for the limited purpose of establishing
probable cause to arrest, I have not set forth every fact learned during the course of this
investigation.
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and black knit hat. A screenshot drawn from surveillance footage showing HUNT entering the

Store is set forth below.




               4.      HUNT then displayed a firearm to the employee behind the counter

(“Victim-1”) and demanded money. Victim-1 provided HUNT with approximately $200 United

States currency from the cash register. HUNT then asked if Victim-1 had anything else. When

Victim-1 responded in the negative, HUNT fired one bullet that struck the wall, exited the store,

and walked northbound on Lewis Avenue toward Putnam Avenue.

               5.      Based upon the review of surveillance footage from nearby cameras

located in the area around the Store, I know that shortly before HUNT entered the Store, a silver

Nissan Rogue with a black driver’s side mirror and a silver passenger side mirror (the “Nissan

Rogue”) parked at the intersection of Lewis Avenue and Putnam Avenue—one block north of

the Store—and an individual wearing dark clothing consistent with the clothing depicted above

exited the driver’s seat of the Nissan Rogue and walked southbound towards the Store.
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               6.     Based upon the review of the same surveillance footage, shortly after

HUNT exited the Store, an individual wearing dark clothing consistent with the clothing depicted

above walked northbound on Lewis Avenue—from the direction of the Store—entered the

driver’s seat of the Nissan Rogue, and drove westbound on Putnam Avenue.

               7.     Surveillance footage from a New York State Department of

Transportation camera then depicts a silver Nissan Rogue driving westbound on Putnam Avenue,

approximately three blocks west of Lewis Avenue and Putnam Avenue. A screenshot from

surveillance footage depicting the license plate of the Nissan Rogue is set forth below.




               8.     Based upon the review of law enforcement records and body worn camera

footage, approximately one week after the robbery, NYPD officers observed HUNT sitting in the

driver’s seat of a silver 2017 Nissan Rogue with a black driver’s side mirror and a silver

passenger side mirror, bearing a New York license plate number ending in the digits -383,

consistent with the Nissan Rogue observed in connection with the robbery. HUNT was wearing

what appear to be large diamond earrings consistent with those worn by the perpetrator of the

robbery, and his physical appearance is consistent with the perpetrator of the robbery. A
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screenshot of body worn camera footage depicting HUNT during this encounter is set forth

below.




               9.     During this encounter, HUNT provided a driver’s license bearing the

name PIERRE HUNT, HUNT’s likeness, and a home address in Staten Island, New York (the

“HUNT Home Address”). The specific address is known to your affiant. A review of law

enforcement databases shows that in October 2023, during a transaction at a pawn shop the

location of which is known to your affiant, HUNT provided the same driver’s license and a

phone number ending in -4073 (the “HUNT 4073 Number”). A review of law enforcement

databases further shows that the Nissan Rogue is registered to another individual (whose name is

known to your affiant) at the HUNT Home Address.

               10.    On February 2, 2024, the Honorable Robert M. Levy, United States

Magistrate Judge, Eastern District of New York, authorized a search warrant for historical

cell-site information for the HUNT 4073 Number, under Magistrate Docket Number 24-449.

Historical cell-site information obtained pursuant to that warrant shows that on January 8, 2024

at approximately 12:20 p.m., the HUNT 4073 Number was located in the vicinity of the HUNT

Home Address. The HUNT 4073 Number then travelled from Staten Island to Brooklyn,
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At 3:13 p.m., an LPR captured the Nissan Rogue on the Verrazzano Bridge travelling towards

6WDWHQ,VODQG. The HUNT 4073 Number then returned to the vicinity of the HUNT Home

Address at approximately 3:28 p.m.

               12.       Based on the foregoing facts, I submit that there is probable cause to

believe that PIERRE HUNT was the perpetrator of the robbery and used, brandished and

discharged a firearm during that robbery as described herein.

               WHEREFORE, I respectfully request that the defendant PIERRE HUNT be dealt

with according to law.



                                                   /s/ Jennifer Cardillo
                                               _______________________________________
                                               JENNIFER CARDILLO
                                               Special Agent
                                               Bureau of Alcohol, Tobacco, Firearms and
                                               Explosives


Sworn to before me by telephone this
 18 day of March, 2024
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____                      ______
THE HONORABLE PEGGY KUO
UNITED STATES MAGISTRATE JUDGE
EASTERN DISTRICT OF NEW YORK
